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                EXHIBIT 3
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                                     Updated Timeline
                                 Prepared January 31, 2013

 Start (if applicable) Completion          Description
 Present               3/30/2013           Fact finding continues. Outside Experts (O/E)
                                           perform/complete review of IDR responses
                                           provided in late December and January. Identify
                                           new or follow-up information needs, issue IDRs
                                           if needed, and review responses as received.
                                           Source code is provided mid-February, allowing
                                           start of code analysis.
 3/30/2013            6/30/2013            O/E complete bulk of analysis. Requests for any
                                           identified and outstanding information needs
                                           (IDRs or, if applicable, interviews).
                                           Presentation to IRS before end of June of results
                                           of analysis able to perform to-date.
 6/30/2013            7/15/2013            O/E complete evaluation and report results of
                                           analysis to IRS.
                      7/19/2013            IRS completes analysis and presents conclusions
                                           to Taxpayer
 7/19/2012            9/1/2013             Dialogue with Taxpayer on Issues – Determine
                                           if Room for Resolution
                      9/1/2013             Resolution of Issue(s) or Issuance of 30-Day
                                           Letter
                      12/31/2013           Statute Extension Date

Notes:

(1) This timeline is based on the expectation that throughout fact finding process
information requests will be communicated to Taxpayer on a rolling basis and that
complete responses to IDRs will be received within 2 weeks of the IDR in question being
issued. In practice, IDR responses have regularly taken 4-5 weeks or longer, sometimes
because of the size of the response but in other cases for less clear reasons. The majority
of data intensive IDRs have been issued already, and based on what is currently known,
we believe that all reasonably anticipated IDRs will be issued by June 30 (and most
significantly sooner). However, if new information needs or sources are identified that it
is sensible to develop, we may pursue additional information or interviews. Also, to date,
at the request of the Taxpayer, we have used informal interviews by phone to develop the
case as quickly as possible. We may, as previously discussed, pursue more formal
interviews if deemed appropriate at some point.

(2) One significant variable remains the timing and manner of production of the source
code that was originally requested in November. If the source code is produced by mid-
February, allowing analysis to start mid-to-late February, the timeline is feasible. If there
are continued delays in producing the code under satisfactory conditions for Elysium to
conduct its analysis, that delay could jeopardize the timeline.



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